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                                 UNITED STATES DISTRICT COURT
 7

                                        DISTRICT OF NEVADA
 8
     MARY J. SOTO
 9


10
            Plaintiff,
                                                                  No.
11   vs.


12
     VERIZON WIRELESS SERVICES, LLC
13
     a Foreign Limited-Liability Company

14          Defendant.

15


16
                                              COMPLAINT
17
                                             JURISDICTION
18
            1.      The jurisdiction of this Court attains pursuant to the FCRA, 15 U.S.C. Section
19
     1681(p), and the doctrine ofsupplemental jurisdiction. Venue lies in the Southern Division of
20
     the Judicial District of Nevada as Plaintiffs' claims arose from acts ofthe Defendant perpetrated
21
     therein.
22
                                    PRELIMINARY STATEMENT
23
            2.      The Plaintiff brings this action for damages based upon Defendant's violations of
24
     the Fair Credit Reporting Act, 15 U.S.C § 1681 et seq.(hereinafter referred to as "FCRA").
25
            3.      Plaintiff is a natural person and is a resident and citizen ofthe State of Nevada
26
     and ofthe United States. Plaintiff is a "consumer" as defined by § 1681 a(c) ofthe FCRA.
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